                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE

UNITED STATES OF AMERICA, ex rel,
                               )
KRYSTAL SPENCER                )
                               )
    Plaintiff                  )                      No.: 3:13-cv-00233
vs.                            )
                               )
AMPHARM, INC., AMERICAN HEALTH )
COMPANIES, INC. AND            )
TENNESSEE HEALTH               )                      JURY DEMAND
MANAGEMENT, INC.               )
                               )
    Defendants.                )


                                JOINT MEDIATION REPORT

       COMES NOW, the parties to this action, by and through counsel, and as evidenced by

the signatures of their counsel below, pursuant to the Initial Case Management Order (D.E. 60),

entered on July 25, 2016, hereby file this Joint Mediation Report. On October 18, 2016, counsel

for the parties discussed alternative dispute resolution. The parties are filing this Joint Mediation

Report to notify the Court that they have not been able to resolve this matter and are proceeding

with the deadlines as previously set in the Initial Case Management Order. The parties will

continue to explore possible options for alternative dispute resolution and will keep the Court

informed in that regard.

                                                      Respectfully submitted,


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    Case 3:13-cv-00233 Document 63 Filed 10/19/16 Page 1 of 3 PageID #: 249
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                                   2


Case 3:13-cv-00233 Document 63 Filed 10/19/16 Page 2 of 3 PageID #: 250
                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was filed electronically on this 19th day of
October, 2016. Notice of this filing will be sent by operation of the Court’s electronic filing
system to all parties listed below. Parties may access this filing though the Court’s electronic
filing system.

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                                                3


    Case 3:13-cv-00233 Document 63 Filed 10/19/16 Page 3 of 3 PageID #: 251
